          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                      CRIMINAL NO. 1:04CR43-10


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )           ORDER
                                         )
                                         )
BILLY EUGENE PROFFITT, JR.               )
                                         )


     THIS MATTER is before the Court on Defendant’s motion to modify

judgment and sentence.

     Defendant asks the Court to postpone any further payments made

toward the restitution and assessment balances from his prison income

until such time as he is released from prison and becomes gainfully

employed. So rather than seeking to modify his judgment and sentence, it

appears the Defendant is requesting the Court adjust the payment

schedule for his restitution payments.

     The Bureau of Prisons (BOP) has the authority to place a defendant

in the Inmate Financial Responsibility Program based on the wording

contained in the criminal judgment. United States v. Watkins, 161 F.




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App’x 337 (4th Cir. 2006); Bramson v. Winn, 136 F. App’x 380 (1st Cir.

2005). The authority and method of collecting through the Inmate

Financial Responsibility Program as well as the determination of the

Defendant’s ability to pay has been delegated to the BOP by federal

regulations. 28 C.F.R. §§ 545.10-.16. Defendant is, therefore, obligated to

exhaust all administrative remedies through the BOP before approaching

the appropriate district court. McGhee v. Clark, 166 F.3d 884, 885-87 (7th

Cir. 1999); Aja v. Bureau of Prisons Staff, 202 F.3d 267 (table), 1999

WL 1336093 (6th Cir. 1999); United States v. Rumney, 86 F.3d 1147

(table), 1996 WL 325485 (1st Cir. 1996); Indelicato v. Suarez, 207

F.Supp.2d 216 (S.D.N.Y. 2002). Thereafter, a defendant may challenge

such payments but only by filing the appropriate pleading in the district

court of confinement, not with the sentencing court. Matheny v. Morrison,

307 F.3d 709, 712 (8th Cir. 2002); Moore v. Olson, 368 F.3d 757, 759 (7th

Cir.), cert. denied, 543 U.S. 949 (2004).

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to

modify judgment and sentence is hereby DENIED.




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                               Signed: August 24, 2007




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